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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                         CASE NO. 1:20-cv-21707-MARTINEZ/BECERRA

    RAYMOND JAMES FINANCIAL, INC.,
        Plaintiff,

    vs.

    FEDERAL INSURANCE COMPANY;
    TRAVELERS CASUALTY AND
    SURETY COMPANY OF AMERICA;
    GREAT AMERICAN INSURANCE COMPANY;
    BEAZLEY INSURANCE COMPANY, INC.; and
    ST. PAUL MERCURY INSURANCE COMPANY,

           Defendants.
                                                             /

        PLAINTIFF’S MOTION TO COMPEL DOCUMENTS AND ASSOCIATED
    TESTIMONY FROM DEFENDANTS AND SUPPORTING MEMORANDUM OF LAW

          Plaintiff, Raymond James Financial, Inc. (“Raymond James”), by and through undersigned
   counsel and pursuant to Rule 37 of the Federal Rules of Civil Procedure and this Court’s Orders
   at ECF Nos. 71, 76, 79, and 144, moves for the entry of an Order compelling Defendants Federal
   Insurance Company (“Federal”), Travelers Casualty and Surety Company of America
   (“Travelers”), Great American Insurance Company (“Great American”), Beazley Insurance
   Company, Inc. (“Beazley”), and St. Paul Mercury Insurance Company (“St. Paul”) (collectively,
   “Defendants” or “Insurers”) to produce documents that pre-date the Insurers’ denial of coverage
   and which were improperly withheld on the basis of the attorney-client privilege and/or the work-
   product doctrine and supply associated deposition testimony. In support thereof, Raymond James
   submits the following memorandum of law.
                                        I.    INTRODUCTION
          Nearly all of the Defendants agree that they have certain non-delegable obligations pertinent
   to handling insurance claims submitted by their policyholders like Raymond James. These
   obligations include the following:
          1.      An insurance company must adopt and implement standards for the proper
                  investigation of claims;
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          2.        An insurance company must disclose to its insured all benefits, coverages and time
                    limits that apply to a specific claim;

          3.        An insurance company must treat its policyholder’s interests with equal regard as
                    its own; in fact, a company must give its policyholder the benefit of the doubt when
                    considering the facts in a claim investigation;

          4.        An insurance company may not misrepresent pertinent facts or policy provisions
                    relating to coverages;

          5.        An insurance company must conduct a full, fair and prompt investigation of the
                    claim at its own expense;

          6.        An insurance company must fully, fairly and promptly evaluate and adjust the
                    claim; and

          7.        An insurance company may not deny a claim or any part of a claim based upon
                    insufficient information, speculation or biased information, and must have
                    conducted a reasonable investigation based on available information.

          Travelers, Beazley, and Great American agreed to the above-referenced industry
   standards. 1 When asked about these non-delegable duties, only Federal’s corporate representative
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   refused to answer on the advice of its legal counsel, Scott Schmookler, Esq., that the information
   was “privileged” (Deposition of Ken West [ECF No. 126-2] (“West Dep.”) at 31:6-33:7, 33:10-
   14, 33:19-20, 34:2-9, 34:16-17). Mr. West did testify that state guidelines would generally apply,
   though he could not articulate those guidelines for Florida, despite the subject policy being a
   Florida issued insurance policy. (Id. at pp. 36:11-19, 37:11-14, 37:2-4, 37:11-14, 37:16-19, 37:25-
   38:1, 40:8-12, 40:19-22, 44:3-5, 44:11-19, 44:22-45:1, 45:5). Moreover, Mr. West refused to
   answer questions about the type of information that Mr. Schmookler sought in connection with the
   claim. (Id. at pp. 149:7-17, 149:19-21, 149:23-150:19). The Insurers, with the exception of

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     Deposition of Matthew Kalin [ECF No. 126-3] (“Kalin Dep.”) at pp. 35:6-8, 35:16-18, 36:6-11,
   36:13-18, 36:21-22, 36:24-37:2, 37:4-8, 37:10-14, 37:16-19, 37:21-38:2, 38:4-16, 39:2-6, 39:8-15,
   39:17-20, 39:22-40:5, 40:7-13, 40:15-19, 40:21-22, 40:24-41:1, 41:3-8, 41:13-15, 41:23-42:1,
   42:3-4, 42:11-16, 42:18-43:2, 43:6-10, 43:12-17, 45:3-6, 45:8-10, 45:12-15, 45:18-22, 45:24-25,
   46:2-4, 46:6-11, 46:14-21, 46:23-47:2, 47:4-8; Deposition of Antonio Trotta [ECF No. 126-4]
   (“Trotta Dep.”), at pp. 38:11-17, 38:24:-39:4, 39:16-20, 40:7, 40:9-11, 40:15-17, 40:19, 40:21-24,
   41:1, 41:19-23, 42:142:11-14, 42:16-17, 42:19-23, 42:25-43:4, 43:6-9, 43:12-13, 43:15-18, 43:12-
   13, 46:13-15, 46:17; Deposition of Tracey Archbold [ECF No. 126-3] (“Archbold Dep.”) at pp.
   26:6-14, 27:10-21, 27:23-24; 28:11-19, 28:25-29:13, 29:23-30:3, 30:7-10, 30:22-32:3, 32:5-
   33:17, 33:19-34:17).


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   Federal’s representative who refused to answer on the advice of counsel, also agreed that the duty
   to undertake a good faith claim investigation continues even after litigation with the policyholder
   incepts (West Dep. at 49:15-18, 49:24-25; Kalin Dep. at 41:17-22; Trotta Dep. at 41:3-4, 41:6-7,
   41:9-11, 41:15-17; Archbold Dep. at 30:7-10).
          The evidence shows, however, that none of the insurance carriers investigated or evaluated
   Raymond James’ claim. Instead, Defendants relied upon lead counsel for Federal (Scott
   Schmookler, Esq.) to conduct the claim investigation. But, when asked at deposition about
   information relating to the claim investigation, including the substance of any relevant factual
   information, Defendants all asserted the attorney-client privilege and refused to disclose routine
   claim communications long preceding the denial of Raymond James’ claim on April 20, 2020.
          Under Florida law, the attorney-client privilege does not shield from disclosure
   communications with attorneys performing claims-handling functions or investigating insurance
   claims. See, e.g., Seacoast 5151 Condo. Ass’n v. Great Am. Ins. Co. of New York, No. 17-23820-
   CIV, 2018 WL 6653342, at *3-4 (S.D. Fla. Sept. 15, 2018), report and recommendation adopted,
   No. 17-23820-CIV, 2018 WL 6653071 (determining that documents reflecting communications
   with counsel prior to decision to deny coverage were not protected by the attorney-client privilege);
   The Atriums of Palm Beach Condo. Ass’n, Inc. v. QBE Ins. Co., 2009 WL 10667478 (S.D. Fla
   June 17, 2009).
            Accordingly, Raymond James is entitled to the production of all documents and
   communications on the Defendants’ Privilege Logs 2 reflecting the Insurers’ statutorily required
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   claim investigation which were created or received prior to denying coverage on April 20, 2020,
   answers to questions relating to those communications that the Insurers’ corporate representatives
   refused to answer on the basis of attorney client and/or work product privilege, and the “market”
   communications between the Insurers for the period from December 19, 2019 to April 20, 2020. 3     2F




                                        II.    BACKGROUND
          This action arises from Defendants’ failure to indemnify Raymond James for covered

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    The Privilege Logs are attached hereto as Composite Exhibit A. Raymond James seeks only the
   highlighted communications dated prior to April 20, 2020 relating to the investigation of the claim
   and the “market” communications from December 19, 2020 to April 20, 2020.
   3
    As set forth below, the Insurers’ agreed to produce these “market” communications prior to
   December 19, 2019. The Insurers assert that the “market” communications between December 19,
   2019 and April 20, 2020 are protected by the attorney-client and/or work product privilege.
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   losses under a series of Financial Institution Bonds (the “Bonds”) that Raymond James purchased
   from the Defendants providing a total of $60 million in “single loss” employee fidelity coverage.
   Raymond James suffered a covered loss under the Bonds arising directly from dishonest and
   fraudulent acts committed by a Raymond James employee, Joel Burstein, in connection with the
   purchase, improvement and expansion of the Jay Peak Resort in Jay Peak, Vermont, and the Burke
   Mountain Resort in East Burke, Vermont, by Burstein’s former father-in-law Ariel Quiros. As part
   of their scheme, Burstein and Quiros, with the intent to financially benefit themselves and entities
   operated and controlled by Quiros and others, converted and misappropriated many millions of
   dollars in EB-5 investor funds from limited partnership accounts held by Raymond James.
           Upon discovery of the scheme, the SEC initiated litigation against Quiros which resulted
   in the appointment of a Receiver for the Jay Peak limited partnerships and related entitles (the
   “SEC Receiver”). Soon thereafter, numerous lawsuits were filed against Raymond James and
   Burstein, including an action by the SEC Receiver and a consolidated class action lawsuit by
   individual investors who were seeking to recover, among other damages, the funds held by
   Raymond James that had been misappropriated by Burstein and Quiros. After months of
   confidential negotiations, Raymond James agreed to settle with the SEC Receiver for the payment
   of $150 million, at least $78 million of which was for the limited partnerships in order to repay
   investors whose investment principal was both held at Raymond James and for which Raymond
   James is legally liable as result of Burstein and Quiros’ misconduct.
           As a result of the lawsuits, Raymond James first “discovered” a loss under the Bonds and
   timely reported a claim under the Bonds to the Defendants in May of 2016. It then, as requested
   by Defendants, timely submitted a proof of loss on February 27, 2018. Thereafter, Raymond James
   voluntarily provided voluminous documentation (in excess of 150,000 pages) to Defendants to
   support Raymond James’ covered loss. After a lengthy two-plus year “investigation,” apparently
   conducted entirely through outside counsel, on April 20, 2020, Federal, through this same counsel,
   and as the primary insurer in a follow form tower, sent Raymond James a 28-page letter detailing
   the results of Federal’s investigation and denying coverage. Soon thereafter, the other Insurers sent
   similar denial letters, all incorporating Federal’s denial letter.
           Raymond James then brought this action, asserting claims for breach of contract and
   declaratory relief, and seeking to recover the $60 million in insurance coverage Raymond James
   purchased from Defendants to cover for the very type of employee fraud and dishonesty committed


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   by Burstein. The Primary Bond grants coverage for “Loss resulting directly from dishonest or
   fraudulent acts committed by an Employee, acting alone or in collusion with others, with the intent:
   (a) To cause the Insured to sustain such loss, or (b) To obtain financial benefit for the Employee,
   or another person or entity.” The Primary Bond applies to “loss of Property (1) owned by the
   Insured, (2) held by the Insured in any capacity, or (3) for which the Insured is legally liable,”
   including money. Each of the excess bonds provides coverage on a follow-form basis
   incorporating the terms of the Primary Bond. Defendants bear the burden of proving any
   exclusions to coverage. See, e.g., U.S. Concrete Pipe Co. v. Bould, 437 So. 2d 1061, 1065 (Fla.
   1983) (insurer bears the burden of proving the applicability of any exclusions to coverage).
          Raymond James served Federal with a First Request for Production on June 28, 2020. On
   September 10, 2020, Federal served its objections and responses thereto. 4 Federal subsequently
                                                                               3F




   produced four privilege logs between September 16 and 18, 2020, and documents responsive to
   the First Request for Production on September 22, 2020. In response to Request No. 2, seeking the
   contents of Federal’s claim file, Federal produced very limited documents and otherwise withheld
   from production numerous documents on the basis of the attorney-client privilege and/or work
   product doctrine – many of which pre-date Federal’s denial of coverage. The other Defendants
   similarly withheld from production numerous claim file documents which pre-date the denial of
   coverage. After reviewing the portions of the claim file Federal produced, along with Federal’s
   privilege logs, Raymond James conferred with counsel for Federal (and the other Insurers) on
   numerous occasions via telephone, email and correspondence to address, among other issues, the
   fact that Raymond James believed Federal and the other Insurers were improperly withholding
   from production documents that are not privileged.
          Following telephonic conferences on October 14 and October 19, and as part of the agreed
   upon conferral process, Raymond James sent a detailed letter to Federal on October 20, 2020,
   providing Federal with Raymond James’ analysis of the applicable law on privilege and its reasons
   for disputing Federal’s claims of privilege. In that letter, Raymond James made clear that, while it
   was not disputing the attorney-client privilege with respect to certain documents and
   communications where counsel was providing legal advice concerning the parties’ tolling
   agreement or confidentiality agreements, Raymond James was seeking the production of


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    A copy of Federal Insurance Company’s Objections and Responses to Raymond James Financial,
   Inc.’s First Request for Production is attached hereto as Exhibit “B.”
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   documents and communications between Federal and its counsel relating to the claim
   investigation, which were created or received prior to Federal’s April 20, 2020 denial of coverage.
          In response to that letter, on October 22, 2020, Federal sent Raymond James two revised
   privilege logs: one privilege log covered communications between Federal and its counsel and the
   other covered “market” communications between the various insurance carriers. After further
   discussions, the parties agreed that Federal and the other carriers would produce to Raymond
   James all “market” communications prior to January 1, 2020, without prejudice to Raymond
   James’ right to challenge the carriers’ privilege assertions on the remaining documents – namely,
   the market communications after December 31, 2019 (i.e., for the approximately 3.5 months before
   the denial of coverage) and all documents and communications reflecting the carriers’ statutorily
   required claim investigation which were created or received prior to denying coverage on April
   20, 2020.
          Consistent with then Magistrate Judge O’Sullivan’s discovery procedures, on January 28,
   2021, the parties held a discovery hearing on Raymond James’ challenges to Federal’s and
   Travelers’ assertions of the attorney-client and/or work product privileges with respect to certain
   documents on their respective privilege logs. Following the hearing, on January 29, 2021,
   Magistrate Judge O’Sullivan entered an Order setting a briefing schedule on the attorney-client
   and work product privilege disputes and ordering the parties to confer in an attempt to narrow the
   issues. [ECF No. 71]. Following further conferrals, and in an effort to try to resolve the dispute
   without requiring briefing and a potential in camera review of documents, the parties reached an
   agreement to defer any potential briefing until after Raymond James had taken certain of the
   Defendants’ Rule 30(b)(6) depositions. [ECF No. 76]. In accordance with the parties’ agreement,
   on March 4, 2021, Magistrate Judge O’Sullivan entered an Order deferring briefing on the
   attorney-client and work product privileges until after Raymond James took the 30(b)(6)
   depositions of Federal and Travelers. [ECF No. 79]. 5
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          Raymond James has now taken the Rule 30(b)(6) depositions of each of the Defendants.
   Those depositions confirmed that Defendants relied on outside counsel to investigate Raymond


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     Each of the other Defendants, Great American and Beazley, have also improperly withheld
   documents on the basis of the attorney-client privilege and/or the work-product doctrine. Via email
   dated July 2, 2021, counsel for Beazley indicated that Beazley and Great American were agreeable
   to proceeding in the manner contemplated by this Order.

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   James’ claim, and that Defendants improperly withheld from production communications where
   counsel performed solely claims-handling functions. Counsel for the deponents instructed the
   witnesses, however, not to answer certain questions concerning the investigation and evaluation
   of Raymond James’ claim based on the attorney-client privilege, even though each Defendant
   admitted that outside legal counsel conducted the claim investigation on its behalf. On August 12,
   2021, the successor Magistrate Judge Becerra entered an order establishing a briefing schedule on
   this matter. [ECF No. 144].
   FEDERAL
          Ken West was the Federal claim adjuster assigned to Raymond James’ claim. He admitted
   at deposition that he only spoke to Raymond James one time regarding the claim (West Dep. [ECF
   No. 126-2] at 127:16-18:9). Federal retained Scott Schmookler, Esq., counsel of record in this
   litigation, on March 19, 2018 – less than one month after Raymond James submitted its proof of
   loss and more than two years before Federal denied coverage (Id. at 134:15-135:13). Mr. West’s
   testimony makes it abundantly clear that Federal delegated its entire claim investigation to Mr.
   Schmookler as of March 19, 2018. 6 5F




          Q       What, if anything did you do, Mr. West, to investigate Raymond James’ claim after
                  March 19, 2019 [sic]?
          A       The date we retained counsel:
          Q       Correct
          A       I didn’t - - we didn’t - - I didn’t - - once that – I’m sorry, once we retained counsel,
                  all communications would go - - were going through counsel.

   (Id. at p. 139:12-20).
          Mr. West admitted that he never reached out to anybody at Raymond James after March
   19, 2018, and that all communications after this date were through Mr. Schmookler, though he
   refused to testify as to what he asked Mr. Schmookler to do and what information he requested
   Mr. Schmookler seek from Raymond James as part of the claim investigation.
          Q       Well, is it fair to say, Mr. West, in the investigation of the claim done by you on
                  behalf of Chubb following March 19 of 2018, you did not reach out directly to
                  anybody at Raymond James, correct.
          A       I don’t recall reaching out to anybody after March 19th of 2018, to anybody at
   6
     Despite the testimony by Mr. West that Federal “must conduct a full, fair, and prompt
   investigation of its policyholder’s claim at its own expense” (West Dep. [ECF 126-2] at 46:13-17;
   46:23-25; 47:10-13; 47:19-23; 48:14-17; 48:19-23), Mr. West somehow could not articulate,
   after 28 years of experience in claims handling, any specifics. (Id. at pp. 52:12-16; 52:22-25, 53:3-
   5, 53:11-12).
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                   Raymond James.

   (Id. at p. 140:1-7).
           Q       Do you see anything in the claim file that’s sitting in front of you that shows you
                   [or] anybody else at Chubb directly requesting any information from Raymond
                   James after March 19 of 2018? If you need to, you can look through the whole
                   thing.
           A       It appears after reviewing the claim file after the date we retained Scott Schmookler
                   all requests for information appear to have been made, unless I missed something
                   between Scott Schmookler and your firm.

   (Id. at 143:14-18; 143:22-144:2).
           Mr. West also refused to answer direct questions about the scope of the claim investigation
   it authorized outside counsel to conduct:
           Q     My question is prior to litigation and throughout the pendency of the claim
                 investigation, after you hired Mr. Schmookler’s firm on March 19, 2018, what did
                 you ask them to do?
           MR. SCHMOOKLER: Object to the form. That calls for attorney-client
           communication. Do not answer, Ken.
           A     I am not answering the question because it seeks disclosure of attorney-client
                 privileged information.

   (Id. at pp. 152:18-153:6)
           Despite having no communication with Raymond James for over two years, Mr. West
   authorized Mr. Schmookler to deny the claim (Id. at p. 174:17-20). Federal, through Mr.
   Schmookler, issued its claim denial letter to Raymond James’ on April 20, 2020. (Id. at p. 174:5-
   8). Mr. West did not draft any part of the claim denial letter (Id. at p. 175:2-6). Although he may
   have made changes to the draft denial letter, he did not keep those changes in the claim file. (Id. at
   p. 175:7-18).
           Mr. West’s inability at his deposition to correct a fundamental misunderstanding of a key
   fact in his case further demonstrates that any claim investigation was conducted by outside counsel.
   Specifically, in its Verified Interrogatories (ECF No. 122-1), Federal misstates that a margin loan
   was used to purchase the Jay Peak Resort. This statement is inaccurate. Direct EB-5 investor funds
   were improperly used to purchase the resort. Had Federal conducted a good faith claim
   investigation, as opposed to paying outside counsel with ethical obligations to zealously represent
   the carrier to conduct it, Mr. West undoubtedly would have been aware of this key fact at the time
   of his deposition. Worse, Mr. West admitted that he did not review any of the deposition testimony


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   taken in this lawsuit prior to testifying. (West Dep. at 181:15-23). Mr. West further refused to say
   whether interrogatory answers seeking the factual basis for certain contentions raised by Federal
   were still correct because it would require the disclosure of attorney-client privileged information.
   (Id. at p. 184:5-10). He also refused to answer questions regarding communications with Federal’s
   counsel during the pendency of the claim. See, e.g., (Id. at pp. 137:12-138:14; 149:23-150:6-18;
   151:9-18; 152:18-153:6; 165:2-165:20).
   GREAT AMERICAN
          Great American’s corporate representative did not know if anyone outside of Mr.
   Schmookler’s law firm investigated the claim on behalf of Federal (Archbold Dep. [DE-126-2] at
   101:25-102:4). Yet, Great American incorporated Federal’s denial of coverage letter (prepared by
   counsel following counsel’s investigation) as its own and issued a denial letter to Raymond James
   on April 29, 2020 (Id. at pp. 88:5-15; 89:4-11). Great American’s claim “investigation” consisted
   of coordinating with the “primary” (Federal) to address questions and the review of documents
   with “counsel’s assistance.” (Id. at 92:2-11; 92:13-14; 92:16-93:15). Great American never
   reached out to Raymond James for any additional information. (Id. at 92:16-93:17). Like Federal,
   Great American relied on counsel to investigate Raymond James’ claim, but refused to answer any
   questions with respect to communications it had with outside counsel prior to denying the claim.
          Q      During the course of Great American’s claim investigation and to Raymond
                 James’ claim [sic], were there communications between Great American and Mr.
                 Dratch’s law firm concerning that investigation, evaluation and adjustment of
                 Raymond James’claim?
          MR. DRATCH: And I am going to stand on attorney-client privilege and instruct the
          witness not to answer.
          Q      Are you following that instruction, ma’am?
          A      Counsel, I will not answer that question.

   (Id. at 87:5-15; see also 106:4-108:15). Like Federal, Great American also had factual inaccuracies
   in its sworn Interrogatories (Archbold Dep. at pp. 116:6-117:18). Great American’s representative
   could also not accurately testify as to how the Jay Peak resort was bought, a key fact in this case.
   Had she conducted the required investigation and not relied on counsel, she could have responded
   to questions about the claim (Id. at pp. 99:9-100:15).
   BEAZLEY
          Beazley also does not know who investigated the claim on behalf of Federal. (Trotta Dep.
   at 120:16-17; 120:24-25; 121:5-6; 121:8, 121:10-11, 121:13-14). Beazley did not reach out to or


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   speak with anyone at Raymond James at any time during the claim investigation (Id. at pp. 75:14-
   20; 98:12-99:8). Instead, Beazley relied on its outside counsel to provide advice and guidance as
   to what documents it should review during the claim investigation.(Id. at pp. 91:16-18; 91: 21-23).
   But Beazley’s corporate representative refused to answer any questions relating to
   communications with its outside counsel regarding the documents prior to the denial of the claim
   by Beazley (Id. at pp. 106:9-107:3). Incredibly, Beazley even refused to disclose what documents
   it had its counsel request from Raymond James as part of the claim investigation:
          Q       Do you recall – do you recall seeing communications between Beazley and its
                  counsel with respect to additional records that Beazley would request as part of its
                  claim investigation?
          MR. KEELY I am going to object on the basis of the attorney/client privilege, and Mr.
          Trotta, instruct you not to answer.
          A       I think I will take my counsel’s advice on that.

   (Id. at pp. 84:22-85:5).
          Like the other Defendants, Beazley adopted Federal’s denial letter, though it did not
   participate in the preparation of Federal’s denial letter (Id. at pp. 108:3-14; 111:8-14; 116:2-5).
   Beazley also misstated pertinent facts in its answers to Raymond James’ Interrogatories (Trotta
   Dep at 124:23-125:2, 125:14-15, 126:2-6, 126:17-20), further suggesting that this insurer did not
   conduct its own investigation.
   TRAVELERS AND ST. PAUL
          Travelers and St. Paul (collectively, “Travelers”) had limited communications with
   Raymond James concerning the claim, consisting of perhaps two phone calls, one conference call,
   and a few emails very early on (Kalin Dep. [DE 126-5] at pp. 81:19-82:16; 83:19-84:12). Travelers
   did not request to speak to anyone at Raymond James between the time Raymond James submitted
   its proof of loss on February 29, 2018 and the issuance of Travelers’ denial letter on April 22, 2020
   (Id. at pp. 85:19-23, 85:25-86:13). Even though Travelers’ claim representative testified that he
   reviewed documents, he did not participate in the drafting of the Federal denial letter, which
   Travelers adopted (Id. at 74:6-25). Travelers’ representative similarly refused to answer questions
   regarding the contents of Travelers’ privilege log dated prior to April 20, 2020 (Id. at 110:25-
   111:6-12; 113:6-115:16).
           Based on the above, coupled with the fact that counsel authored Federal’s detailed April
   20, 2020 denial of coverage letter, it is clear that the Insurers conducted their claim investigation


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   entirely through counsel, with counsel acting as a claims investigator for the carriers. 7 Indeed,
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   many of the entries on Defendants’ privilege logs relate to documents and communications years
   and months before Federal denied coverage on April 20, 2020. These documents could not
   possibly have been prepared in anticipation of litigation, as opposed to the Insurers’ non-delegable
   duty to investigate, evaluate and adjust Raymond James’ claim. These documents and
   communications are relevant and presumed discoverable, regardless of whether they include
   counsel, and the Insurers cannot meet their burden to demonstrate otherwise. This Court should
   accordingly overrule the Insurers’ assertions of privilege and order each Defendant to produce all
   the documents listed on its revised privilege logs that pre-date Federal’s denial of coverage on
   April 20, 2020 and the “market” communications, and order that each Insurer re-produce its
   corporate representatives to answer questions regarding the claim. 87F




                                         III.    ARGUMENT
   A.     The Standards for Invoking the Attorney-Client Privilege and Work Product
          Doctrines in the Insurance Context

          Where, as here, the party asserting the attorney-client privilege is a corporation, its claims
   of privilege are subject to heightened level of scrutiny “to minimize the threat of corporations
   cloaking information with the attorney-client privilege in order to avoid discovery.” S. Bell Tel.
   & Tel. Co. v. Deason, 632 So. 2d 1377, 1383 (Fla. 1994). The burden of establishing the attorney-
   client privilege rests on the party claiming it – here, Defendants. Id. Among other things,
   Defendants must establish that the communication would not have been made but for the
   contemplation of legal services, and that the content of the communication relates to the legal
   services being rendered. Id. “Just because a communication is between an attorney and a client
   does not mean the privilege automatically arises; the relevant question is whether an attorney was
   retained to render legal services.” St. Joe Co. v. Liberty Mut. Ins. Co., 3:05-CV-1266J- 25MCR,
   2006 WL 3391208 at *5 (M.D. Fla. Nov. 22, 2006).
          Under Florida law, the attorney-client privilege does not extend to communications with


   7
    Mr. West would not answer what Federal asked Mr. Schmookler’s firm to do after it was hired
   on March 19, 2018, on the basis of the attorney-client privilege (West Dep. [126-2] at 152:18-
   153:-6).
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     Or, at a minimum, Defendants should be ordered to produce these documents to the Court for an
   in camera review.
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   attorneys performing claims-handling functions or investigating insurance claims. “In the
   insurance context, ‘no privilege attaches when an attorney performs investigative work in the
   capacity of an insurance claims adjuster, rather than as a lawyer, [but] simply because [the
   attorney’s] assigned duties were investigative in nature’ does not preclude an assertion of the
   attorney-client privilege.” Arlen House E. Condo. Ass’n, Inc. v. QBE Ins. (Europe) Ltd., No. 07-
   23199-CIV, 2008 WL 11333859, at *5 (S.D. Fla. Aug. 27, 2008) (compelling production of
   documents listed on privilege log because counsel did not always act as legal advisor and
   documents do not concern legal advice, but rather were part of the insurer’s standard investigation
   of the claim) (quoting Cutrale Citrus Juices USA, Inc. v. Zurich Am. Ins. Group, No. 5:03-cv-420-
   Oc-10GRJ, 2004 WL 5215191, at *3 (M.D. Fla. Sept. 10, 2004)). In other words, “to the extent
   that an attorney acted as a claims adjuster, claims process supervisor, or claim investigations
   monitor, and not as a legal advisor . . . the attorney-client privilege would not apply. . . .” Cutrale
   Citrus Juices, 2004 WL 5215191, at *3.
          Moreover, “communications involving those steps that an insurance company undertakes
   in its ordinary investigation of a claim do not develop privileged status merely because they
   involve an attorney.” 1550 Brickell Ass’n. v. QBE Ins. Corp., 597 F. Supp. 2d 1334, 1337 (S.D.
   Fla. 2009). “In an insurance context, the attorney-client privilege only attaches when an attorney
   performs acts for an insurer in his professional capacity and in anticipation of litigation.”
   Milinazzo v. State Farm Ins. Co., 247 F.R.D. 691, 697 (S.D. Fla. 2007).
          Similarly, the work-product doctrine only shields discovery of documents or information
   “prepared in anticipation of litigation or for trial.” Fed. R. Civ. P. 26(b)(3). The work product
   doctrine does not apply unless the party asserting work-product demonstrates that it anticipated
   litigation “at the time the materials were created or drafted.” Schulte v. NCL (Bahamas) Ltd., 10-
   23265-CIV, 2011 WL 256542, at *2 (S.D. Fla. Jan. 25, 2011) (citing CSX Transp. Inc. v. Admiral
   Ins. Co., 93-132-CIV- J-10, 1995 WL 855421 (M.D. Fla. July 20, 1995)). “[D]ocuments
   constituting any part of a factual inquiry into or evaluation of a claim, undertaken in order to arrive
   at a claim decision, are produced in the ordinary course of an insurer’s business and, therefore, are
   not work product.” Cutrale Citrus Juices, 2004 WL 5215191, at *2.
          In the insurance context, moreover, courts in this District utilize a rebuttable presumption
   that “documents or things prepared before the final decision on an insured’s claim are not work-
   product, and documents produced after claims denial are work-product.” Milinazzo, 247 F.R.D. at


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   701; Royal Bahamian Ass’n, Inc. v. QBE Ins. Corp., 268 F.R.D. 695, 698 (S.D. Fla. 2010). “This
   presumption may be rebutted only ‘by specific evidentiary proof of objective facts, that a
   reasonable anticipation of litigation existed when the document was produced.’” Royal Bahamian
   Ass’n, Inc., 268 F.R.D. at 698 (quoting Harper v. Auto Owners Ins. Co., 138 F.R.D. 655, 663-64
   (S.D. Ind. 1991) (“To overcome these presumptions, the insurer must demonstrate, by specific
   evidentiary proof of objective facts, that a reasonable anticipation of litigation existed when the
   document was produced, and that the document was prepared and used solely to prepare for that
   litigation, and not to arrive at a (or buttress a tentative) claim decision”). The Insurers cannot
   sustain their burden.
   B.     The Insurers Have Improperly Withheld from Production Numerous Relevant
          Documents that Pre-Date Any Denial of Coverage

          Raymond James requested that each insurer produce the contents of its claim file. While
   the Insurers have produced limited responsive documents, they have withheld as purportedly
   privileged, numerous documents and communications that pre-date their decision to deny coverage
   and which clearly relate to the claim investigation. These documents are discoverable because they
   “related to [the Insurers’] ‘investigation, processing, analysis’ and ultimate denial of [Raymond
   James’] claim.” Milinazzo, 247 F.R.D. at 696.
          Seacoast 5151 Condo. Ass’n, 2018 WL 6653342, is instructive in this regard. In that case,
   as here, the carrier (Great American) withheld from production, on the basis of the attorney-client
   privilege, numerous communications with its coverage counsel that occurred prior to the decision
   to deny coverage. Id. at *2. The policyholder challenged Great American’s assertion of the
   attorney-client privilege. Id. As Magistrate Judge Bandstra observed, “when the corporation
   asserting attorney-client privilege is an insurance company, the requirements and burden on the
   carrier become even more stringent.” Id. at *3. Generally, the ‘“insurer must demonstrate the
   connection to possible litigation concretely enough to assure the court that it is not simply trying
   to immunize from discovery its routine claims processing material.’” Id. at *3 (quoting Royal
   Bahamian Ass’n, Inc., 268 F.R.D. at 698). Consistent with these pronouncements, Magistrate
   Judge Bandstra determined – and the District Court agreed – that Great American must produce
   all documents (with the exception of two preliminary coverage opinions prepared by counsel)
   created prior to its decision to deny coverage for the claim. Id. at *4. As Magistrate Judge Bandstra
   correctly explained:


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           Reviewing the documents withheld here or redacted on the basis of the attorney-
           client privilege, the undersigned finds that almost all of these documents reflect
           only preliminary communications with counsel well in advance of Great
           American’s decision to deny the HVAC claim so that they are not protected by the
           attorney-client privilege. Coverage counsel William Wilson was first retained on
           or about January 11, 2016—only weeks after the claims were filed by Seacoast and
           almost a full year before Great American denied the HVAC claim on December 27,
           2016. Following his retention, Great American had frequent telephone and email
           contacts with Mr. Wilson to provide him information on the three claims and the
           progress of Great American’s investigation of those claims. Mr. Wilson provided
           input into that investigation and assisted Great American in aspects of that
           investigation relating to information he would need to prepare a coverage opinion
           later that year. No documents listed on Great American's Amended Privilege Log
           contain “specific proof of objective facts” that Great American anticipated
           litigation with Seacoast on any of the three claims prior to the denial of the HVAC
           claim with the possible exception of the written coverage opinion provided by Mr.
           Wilson dated November 22, 2016. Even then, Great American did not deny the
           HVAC claim until December 27—the date certain that Great American could
           reasonably anticipate a lawsuit with Seacoast.

   Id. at *4.
           Raymond James anticipates that the Insurers may attempt to argue that Magistrate Judge
   Matthewman’s decision in Ranger Constr. Indus., Inc. v. Allied World Nat. Assurance Co., No.
   17-81226-CIV, 2019 WL 436555 (S.D. Fla. Feb. 5, 2019), somehow changes this analysis. It does
   not. At most, Ranger suggests a divergence of opinions in this District only as to whether
   documents must be prepared in anticipation of litigation for the attorney-client privilege to apply.
   Ranger still makes clear, however, that the attorney-client privilege does not apply when counsel
   performs a claim investigation. “Clearly, the privilege should not attach when the attorney is
   working for the corporate insurer solely as a conduit, claims adjustor or a mere claim investigator
   rather than as an attorney rendering legal advice or legal services.” Id. at *6.
           The Insurers, however, are attempting to assert the privilege under those very
   circumstances. Raymond James timely reported a claim of loss in May of 2016, and timely
   provided a proof of loss in February of 2018. Federal did not deny coverage until April 20, 2020.
   The other Defendants similarly denied coverage shortly thereafter. From a review of their privilege
   logs and the portions of the claim files each produced, coupled with the Rule 30(b)(6) deposition
   testimony from each Defendant, it is clear that Defendants conducted their claim investigation
   through counsel, with counsel acting as a claims investigator. Counsel for Defendants, much like


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   the lawyer in Seacoast, certainly, at the very least, “provided input into the investigation and
   assisted [Defendants] in aspects of that investigation relating to information he would need to
   prepare a coverage opinion later that year.” 2018 WL 6653342, at *4. Tellingly, none of the
   corporate representatives could articulate either what was done to investigate Raymond James’
   claim for Employee dishonesty or why certain relevant actions either were, or were not,
   undertaken.
          While many of the entries on the logs are generally described, for example, as
   communications regarding “documentation necessary to provide legal advice,” many of these
   withheld documents almost certainly include requests for documentation necessary for counsel to
   investigate the claim and ultimately prepare a coverage letter. And while Federal, for example, has
   indicated that certain documents and communication on its privilege log relate to counsel’s
   analysis of certain case law, given counsel’s role in investigating the claim, it is impossible to tell
   from the description of the documents on the privilege logs whether the entirety of those
   documents contain legal advice or whether the documents contain legal advice mixed with factual
   information learned by counsel as part of the claim investigation. Certainly, the Insurers’ decision
   to have counsel conduct the claim investigation has blurred the line between what arguably
   qualifies as legal advice and what constitutes ordinary claim handling functions. To the extent
   Defendants claim documents contain legal advice, they should therefore, at the very least, be
   subject to an in camera review by the Court to determine whether those communications also
   contain discoverable information concerning counsel’s claim investigation on behalf of the
   carriers. Indeed, it was this same counsel that prepared the 28-page letter to Raymond James
   denying coverage.
          Based on the law in this District, Raymond James is entitled to those documents evidencing
   what was being done by the Insurers to arrive at their claim decision, regardless of whether the
   investigation was being done by counsel. This would include, for example, any facts
   communicated between the Insurers and counsel and any communications describing what counsel
   was being asked to investigate, or was investigating, as part of the claim process.
   “[C]ommunications involving those steps that an insurance company undertakes in its ordinary
   investigation of a claim do not develop privileged status merely because they involve an attorney.”
   1550 Brickell Ass’n, 597 F. Supp. 2d at 1337.
          Moreover, many of the entries on the privilege logs relate to documents created long before


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   Federal denied coverage on April 20, 2020. Plainly, all of these documents could not possibly have
   been prepared in anticipation of litigation as opposed to the Insurers’ non-delegable duty to
   investigate, evaluate and adjust the claim. Any documents created prior to the denial of coverage
   are presumed discoverable, and the Insurers cannot meet their burden of demonstrating otherwise.
   There is nothing in the privilege log descriptions to suggest a reasonable anticipation of litigation
   existed when the documents were created – particularly as to those documents generated or
   received prior to even denying coverage for the claim.
          Lastly, the common interest privilege asserted by the carriers is not a sufficient basis to
   withhold otherwise discoverable documents. The joint defense or common interests doctrine “is
   an extension of the work product doctrine and allows parties facing a common litigation opponent
   to exchange privileged communications and attorney work product in order to prepare a common
   defense without waiving either privilege.” Fojtasek v. NCL (Bahamas) Ltd., 262 F.R.D. 650, 654
   (S.D. Fla. 2009). In other words, it is a necessary condition of the common interest doctrine that
   the documents otherwise be privileged in the first instance. Because the documents at issue are not
   protected from disclosure under the attorney-client privilege and/or the work-product doctrine, the
   common interest privilege is unavailing.
          In short, the Insurers have improperly withheld from production, as purportedly privileged,
   numerous documents and communications that pre-date Federal’s April 20, 2020 decision to deny
   coverage and which clearly relate to their claim investigation. Their privilege assertions should be
   overruled and they should be ordered to produce to Raymond James all such documents and
   communications that were created or received prior to April 20, 2020, as well as the “market”
   communications prior to April 20, 2020. Having retained counsel to handle the claim investigation
   each Defendant was required to conduct, Defendants should not now be heard to argue that those
   documents and communications are protected by the attorney-client privilege and/or work product
   doctrine. Florida law clearly says they are not.
          At the very least, the Insurers should be ordered to submit the documents to the Court for
   an in camera review, because there is nothing included in Defendants’ general descriptions of the
   documents in the privilege logs that would allow this Court to determine that these documents are
   otherwise protected, in whole or in part. See, e.g., AIG Centennial Ins. Co. v. O'Neill, No. 09-
   60551-CIV-ZLOCH, 2010 WL 4116555, at *9 (S.D. Fla. Oct. 18, 2010) (directing insurer to file
   in camera the documents for which it claimed privilege). However, “it is wise for the Court to


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   not consider an in camera review until the party asserting privilege has done all that it reasonably
   could to establish privilege. In camera review ‘is not to be used as a substitute for a party's
   obligation to justify its withholding of documents.’” Campero USA Corp. v. ADS Foodservice,
   LLC, 916 F. Supp. 2d 1284, 1289, n.4 (S.D. Fla. 2012).
                                                CONCLUSION
           Based on the foregoing, Raymond James respectfully requests that this Court enter an
   Order overruling the Insurers’ privilege objections as to documents that pre-date April 20, 2020
   and compelling their production, compelling the Insurers to produce the “market” communications
   dated between December 19, 2019 and April 20, 2020, and directing the Insurers to each produce
   a corporate representative to testify as to the substance of those communications prior to the trial
   in this matter.


   Date: August 25, 2021                         Respectfully submitted,

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                               LOCAL RULE 7.1 CERTIFICATION
          Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that the undersigned has conferred
   numerous times with counsel for Defendants by electronic mail on August 24, 2021, and was
   unable to resolve this discovery dispute.
                                    CERTIFICATE OF SERVICE

          I hereby certify that on August 25, 2021, I electronically filed this Motion to Compel and
   Memorandum of Law with the Clerk of Court using CM/ECF. I also certify that the foregoing
   document is being served this day on parties listed in the below Service List via transmission of
   Notices of Electronic Filing generated by CM/ECF.


                                                       /s/ Jason S. Mazer




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